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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="6c77221c6e"&gt;&lt;span data-sentence-id="25ac3b65cb" quote="false" data-paragraph-id="6c77221c6e"&gt;2022 CO 45&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="bfc0f21080"&gt;&lt;span data-sentence-id="e1b178730d" quote="false" data-paragraph-id="bfc0f21080"&gt; Cheryl Lynette Plemmons, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="99b8461ceb" quote="false" data-paragraph-id="bfc0f21080"&gt; &lt;br /&gt; The People of State of Colorado Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8fbb072025"&gt;No. 21SC183&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="bec54d0376"&gt;October 17, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="eba2ba4f06"&gt;&lt;span data-sentence-id="e4af085579" quote="false" data-paragraph-id="eba2ba4f06"&gt; Certiorari to the Colorado Court of Appeals Court of Appeals Case No. 18CA481 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="b9a7d745fa"&gt;&lt;span data-sentence-id="372a74881b" quote="false" data-paragraph-id="b9a7d745fa"&gt; Petition for Rehearing DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="04023dfa75"&gt;&lt;span data-sentence-id="38a4103eb6" quote="false" data-paragraph-id="04023dfa75"&gt; JUSTICE MÁRQUEZ and JUSTICE GABRIEL would grant the petition.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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